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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                       MDL No. 3076

                                  CASE NO. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation

    This Document Relates To:

    Garrison v. Bankman-Fried,

    Case No. 22-cv-23753-MOORE/OTAZO-REYES

     PLAINTIFFS’ OPPOSITION TO RENEWED MOTION TO STAY ALL DISCOVERY
                     BY BRAND AMBASSADOR DEFENDANTS

          Plaintiffs respond in Opposition to the Renewed Motion to Stay all Discovery (including

   exchanging even “Initial Disclosures”) [ECF No. 124] (the “Motion”), by Defendants Brady,

   Bündchen, Curry, David, Golden State Warriors, LLC (“GSW”), Haslem, Lawrence, Ohtani,

   O’Leary, Ortiz, and Osaka (collectively, the “Brand Ambassador Defendants”).

                                            INTRODUCTION

          The Court should deny the Brand Ambassador Defendants’ motion and require them to

   provide: (1) standard and uniform Initial Disclosures, and (2) basic discovery that is admittedly

   readily available and not burdensome to produce. Initial Disclosures are required in every federal

   case because they help organize the litigation and help the parties and the Court, by requiring the

   identity of certain crucial documents and information that a party knows they will be relying upon

   for their arguments. Moreover, these parties have known about this litigation for over six (6)

   months, have retained many of the best defense law firms in the country and have admitted that

   they have already gathered all of the responsive, basic materials (such as their own FTX Contracts

   and emails regarding those Contracts).
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          Plaintiffs respectfully suggest that the MDL Court should not simply enter a blanket stay

   of all discovery (including Initial Disclosures) just because each Defendant may raise motions

   concerning a Consolidated Amended Complaint that has yet to be filed. 1 Plaintiffs respectfully

   request the Brand Ambassador Defendants be compelled to produce Initial Disclosures in

   accordance with Federal Rule of Civil Procedure 26(a)(1), which are clearly not burdensome, and

   which the Brand Ambassador Defendants provide no compelling argument against doing so.

   Likewise certain foundational documents, such as their own unredacted Brand Ambassador

   Defendants’ agreements with FTX, are undoubtedly relevant. See Dkt. 22-cv-23753, ECF No. 163.

   In fact, at least four of the Brand Ambassador Defendants (Brady, O’Leary, Ortiz, and David)

   already produced their respective agreements in one case now part of this MDL, Norris v. Brady,

   23-cv-20439 (S.D. Fla.) (“Norris”). 2

          These basic Brand Ambassador documents alone, in many cases (such as in the related

   Voyager Crypto Litigation), have proven to be crucial, because they clearly identify specific

   functions and expectations of the parties, and in many cases, involve choice of law and jurisdiction

   information, which were relevant for the Court’s initial determinations.




   1
     The Brand Ambassador Defendants first filed their motion to stay discovery on April 26, 2023
   in Garrison v. Bankman-Fried, No. 22-cv-23753 (S.D. Fla.). That motion referred to arguments
   raised in a motion to dismiss a complaint which is no longer operative and a motion of five of
   those Defendants (Curry, David, GSW, Ohtani, and Osaka) to dismiss for lack of personal
   jurisdiction. Dkt. 22-cv-23753, ECF No. 139. Those defendants appear to have abandoned their
   jurisdictional arguments, likely in light of the forthcoming amended consolidated pleading and the
   filing of complaints in each of their home jurisdictions which will then be tagalong cases in the
   MDL proceeding before this Court. See Motion at 3.
   2
    With respect to the issue of the remainder of the “merits” discovery, Plaintiffs take no position
   and leave it to the Court’s discretion what discovery, if any, should be permitted pending a decision
   on the forthcoming motions to dismiss, which are due 45 days after Plaintiffs file their consolidated
   amended complaint by August 7, 2023. ECF. No. 61 at 4.
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                                         LEGAL ARGUMENT

     I.    LEGAL STANDARD

           The Court “has broad discretion to stay discovery pending decision on a dispositive

   motion.” See Panola Land Buyers Ass’n v. Shuman, 762 F.2d 1550, 1560 (11th Cir. 1985)

   (citations omitted). While motions to stay discovery may be granted pursuant to Fed. R. Civ. P.

   26(c), the moving party bears “the burden of showing good cause and reasonableness.” Cuhaci v.

   Kouri Grp., LP, 540 F. Supp. 3d 1184, 1186 (S.D. Fla. 2021) (quoting Feldman v. Flood, 176

   F.R.D. 651, 652 (M.D. Fla. 1997) (seeking to stay discovery requires a “specific showing of

   prejudice or burdensomeness”). However, such motions “are not favored because when discovery

   is delayed or prolonged it can create case management problems which impede the Court’s

   responsibility to expedite discovery and cause unnecessary litigation expenses and problems.”

   Randy Rosenberg, D.C., P.A. v. GEICO Gen. Ins. Co., No. 19-cv-61422, 2019 WL 6052408, at *1

   (S.D. Fla. Nov. 15, 2019) (quoting Feldman, 176 F.R.D. at 652); see Cuhaci, 540 F. Supp. 3d at

   1187 (“Motions to stay discovery pending ruling on a dispositive motion are generally disfavored

   in this district.”) (cleaned up).

           “Although the Court has discretion to stay discovery, this District’s Local Rules make clear

   that a stay of discovery pending the determination of a motion to dismiss is the exception, rather

   than the rule.” Vechten v. Elenson, No. 12-cv-80668, 2012 WL 12978270, at *1 (S.D. Fla. July 20,

   2012) (citations omitted); Keegan v. Minahan, No. 23-61148-CIV, 2023 WL 4546253, at *1 (S.D.

   Fla. July 14, 2023) (same); Cabrera v. Progressive Behav. Sci., Inc., 331 F.R.D. 185, 186 (S.D.

   Fla. 2019) (same).

           “[D]iscovery stay motions are generally denied except where a specific showing of

   prejudice or burdensomeness is made.” United States ex rel. Sedona Partners LLC v. Able Moving

   & Storage, Inc., No. 20-cv-23242, 2021 WL 4749803, at *2 (S.D. Fla. Oct. 12, 2021) (denying

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   motion to stay). “Ultimately, the proponent of the stay bears the burden of demonstrating its

   necessity, appropriateness, and reasonableness.” Ray v. Spirit Airlines, Inc., No. 12-61528-CIV,

   2012 WL 5471793, at *2 (S.D. Fla. Nov. 9, 2012) (citing McCabe v. Foley, 233 F.R.D. 683, 685

   (M.D. Fla. 2006)). Moreover, “[a] request to stay discovery pending a resolution of a motion is

   rarely appropriate unless a resolution of the motion will dispose of the entire case.” Vechten, 2012

   WL 12978270, at *1 (quoting McCabe, 233 F.R.D. at 685); see also Dorado v. Bank of Am., N.A.,

   No. 16-21147-CIV, 2016 WL 10859786, at * 1 (S.D. Fla. June 3, 2016) (quoting McCabe, 233

   F.R.D. at 685) (“[A] request to stay discovery pending a resolution of a motion is rarely appropriate

   unless resolution of the motion will dispose of the entire case.”). 3

          Thus, “in deciding whether to stay discovery pending resolution of a pending motion, the

   Court inevitably must balance the harm produced by a delay in discovery against the possibility

   that the motion will be granted and entirely eliminate the need for such discovery.” Se. Metals

   Mfg. Co., Inc. v. Stampco, Inc., No. 13-cv-844-J-34, 2014 WL 12611323, at *2, at *2 (M.D. Fla.

   July 29, 2014) (citing Feldman, 176 F.R.D. at 652). In making its determination, the Court takes


   3
    The Brand Ambassador Defendants base their arguments in favor of a stay of all discovery on
   Chudasama v. Mazda Motor Corp., 123 F.3d 1353 (11th Cir. 1997), and its progeny. But
   Chudasama does not require that discovery always be stayed pending resolution of a motion to
   dismiss. See Ray, 2012 WL 5471793, at *3 (“The Eleventh Circuit did not, however, prescribe ‘a
   broad rule that discovery should be deferred whenever there is a pending motion to dismiss.’”);
   Reilly v. Amy’s Kitchen, Inc., No. 13-21525-CIV, 2013 WL 3929709, at *1 (S.D. Fla. July 31, 2013)
   (“[T]here is no general rule that discovery be stayed while a pending motion to dismiss is
   resolved.”); Gannon v. Flood, No. 08-60059-CIV, 2008 WL 793682, at *1 (S.D. Fla. Mar. 24,
   2008) (Chudasama “does not indicate a broad rule that discovery should be deferred whenever
   there is a pending motion to dismiss.”); Bocciolone v. Solowsky, No. 08-20200-CIV, 2008 WL
   2906719, at *1 (S.D. Fla. July 24, 2008) (“[C]ourts have consistently rejected any per se
   requirement to stay discovery pending resolution of a dispositive motion.”). Instead, the
   Chudasama court “confronted a very specific situation involving a threefold problem —
   unjustifiable delay by the district court in ruling on the motion to dismiss, an erroneous decision
   to compel discovery from the defendant prior to adjudicating the motion to dismiss, and an
   especially dubious fraud claim that was likely to be dismissed.” Ray, 2012 WL 5471793, at *3.



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   a “preliminary peek” at the merits of the pending motion to assess the likelihood that the motion

   will be granted. McCabe, 233 F.R.D. at 685; MSP Recovery Claims, Series LLC v. Amerisure Ins.

   Co., No. 17-23961-CIV, 2021 WL 4992560, at *1 (S.D. Fla. Mar. 8, 2021) (“Having reviewed

   Defendants’ Motion and performed a ‘preliminary peek’ at the arguments raised in Defendants’

   Motion to Dismiss, the Court cannot say dismissal of the claims against Defendants is a foregone

   conclusion.”).

          Because it is impossible for courts to take a “preliminary peek” at motions that have yet to

   be filed, Florida courts consistently deny motions to stay discovery based on a forthcoming motion.

   See Carey v. Kirk, No. 21-20408-CIV, 2021 WL 9347056, at *1 (S.D. Fla. Sept. 20, 2021)

   (“Without a motion to dismiss pending, it is impossible for the Court to take a ‘preliminary peek’

   to balance the interest in this case.”); Jackson v. Anheuser-Busch InBev SA/NV, LLC, No. 20-cv-

   23392, 2021 WL 493959, at *2 (S.D. Fla. Feb. 10, 2021) (denying motion to stay because, without

   a motion to dismiss before it, there was nothing for the court to take a “preliminary peek” at in

   order to determine the merits of the forthcoming motion); www.TrustScience.com Inc. v. Bloom

   Ltd., No. 18-cv-1174-Orl-41, 2018 WL 8368844, (M.D. Fla. Oct. 11, 2018) (denying motion to

   stay discovery where plaintiff was unable to respond to defendants’ summary assertions that its

   anticipated motion to dismiss was clearly meritorious); Krukever v. TD Ameritrade, Inc., No. 18-

   21399-CIV, 2018 WL 2382008, at *2 (S.D. Fla. May 23, 2018) (denying the defendants’ motion

   to stay and stating that “with only a two-page summary of a forthcoming motion to dismiss, ‘the

   [c]ourt cannot say that this case is surely destined for dismissal.’”) (citation omitted); Southeastern

   Metals, 2014 WL 12611323, at *2 (“In the instant case, it is obviously impossible for the [c]ourt

   to take a ‘preliminary peek’ at [d]efendant’s motion for summary judgment, because no such

   motion has actually been filed.”).



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    II.   THE BRAND AMBASSADOR DEFENDANTS FAIL TO DEMONSTRATE THE
          NECESSITY, APPROPRIATENESS, AND REASONABLENESS OF A STAY.

          The Brand Ambassador Defendants advance three arguments in support of a stay: (i) the

   Court should take a “preliminary peek” at a motion to dismiss a prior, soon-to-be superseded

   version of the complaint and stay discovery because the yet-to-be filed motion to dismiss “should

   result in dismissal,” (ii) without a stay the Brand Ambassador Defendants will be subject to the

   burden and expense of discovery, and (iii), a stay will not prejudice Plaintiffs. See Motion at 7–8,

   11–20. None of those arguments withstand scrutiny.

          A.      The Court Cannot Take a Quick “Peek” At A Motion To Dismiss A Pleading
                  That Has Not Yet Been Filed.

          It is obviously impossible for the Court to take a “preliminary peek” at the Brand

   Ambassador Defendants’ forthcoming motion to dismiss the amended consolidated complaint

   because that pleading has not yet been filed. Nor can the Brand Ambassador Defendants credibly

   claim that their forthcoming motion will resolve the matter in its entirety as against them without

   having reviewed the amended consolidated complaint, which is not due until August 7, 2023. See

   ECF No. 61 at 4. To establish the merits of their yet-to-be-filed motion, the Brand Ambassador

   Defendants ask the Court to rely solely on their summary of their anticipated arguments set forth

   in a previously-filed motion to dismiss a version of the complaint which is no longer operative.

   See Motion at 7 (admitting “the consolidated amended complaint as to the [Brand Ambassador]

   Defendants has not been filed, and consequently, there are no pending motions to dismiss”). But

   the Court cannot determine whether those future motions would be clearly meritorious and truly

   case dispositive based upon such a summary, especially because Plaintiffs are unable to adequately

   respond to the Brand Ambassador Defendants’ summary assertions. See Krukever, 2018 WL

   2382008, at *2 (denying motion to stay discovery based on summary of arguments in a

   forthcoming motion to dismiss). Indeed, the Brand Ambassador Defendants cite no authority

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   whatsoever that would justify granting a motion to stay all discovery in anticipation of a

   forthcoming motion. 4

          Here, it certainly cannot be said that Defendants’ forthcoming motion to dismiss “will

   dispose of the entire case,” particularly where Plaintiffs have not even filed their amended

   consolidated pleading to, among other things, address purported deficiencies raised in the

   previously-filed motion to dismiss, include additional parties and claims, and provide additional

   context and background for the already-pled claims.

          Even if the Court were to address any of the merits of the previously-filed motion to

   dismiss, it would not have the full picture. This Court already has acknowledged that the related

   FTX cases involve a main question of whether FTX’s offerings are securities that need to be

   registered by the SEC. See Norris, ECF Nos. 43, 45. If the Court decides that question in the

   affirmative, the only remaining question will be whether the Brand Ambassador Defendants “aided

   and abetted” in the offer and sale of such unregistered securities under Florida law. Under any

   scenario, pleading an aiding and abetting claim is fact-specific, and the Court cannot “peek” at the

   adequacy of such fact-based allegations without the benefit of the pleading itself. Thus, the

   preview the Brand Ambassador Defendants provide of their forthcoming dismissal motion is




   4
     The Brand Ambassador Defendants cite only to cases where the Court, unlike here, had the
   opportunity of actually peeking at a pending motion to dismiss. See Lewis v. Mercedes-Benz USA,
   LLC, No. 19-CIV-81220, 2020 WL 4923640, at *2 (S.D. Fla. Mar. 25, 2020); Taylor v. Serv. Corp.
   Int'l, 20-CIV-60709, 2020 WL 6118779, at *2 (S.D. Fla. Oct. 16, 2020) (“a ‘preliminary peek’ of
   the pending Motion to Dismiss reveals that Defendants have challenged the viability of all five
   claims as a matter of law”); Rodriguez v. Imperial Brands plc, No. 20-23287-CIV, 2022 WL
   2231504, at *4 (S.D. Fla. May 25, 2022) (court “has taken the required peek at the Motions to
   Dismiss and finds that they do raise substantial merits and jurisdictional questions regarding
   Plaintiffs’ claims”); In re Mednax Servs., Inc., Customer Data Sec. Breach Litig., No. 21-MD-
   02994, 2021 WL 10428229, at *2 (S.D. Fla. Oct. 9, 2021) (“[A] ‘preliminary peek’ of the pending
   Motion to Dismiss reveals that Defendants have challenged Plaintiffs’ Article III standing and,
   therefore, maintain that this Court lacks subject-matter jurisdiction under Rule 12(b)(1).”).
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   largely academic and unlikely to result in the complete dismissal they are suggesting. See Montoya

   v. PNC Bank, N.A., No. 14-20474-CIV, 2014 WL 2807617, at *2 (S.D. Fla. June 20, 2014)

   (denying a stay “[b]ecause the dismissal motions are not even fully briefed, the [court] is not

   prepared to now assess the viability of the motions” and even an “incomplete and preliminary

   review suggests that the motions may not be the ‘slam-dunk’ submissions the [d]efendants describe

   them to be in their papers”).

          B.      The Brand Ambassador Defendants Fail to Establish They Will Be Burdened
                  by the Limited Discovery Plaintiffs Seek at This Stage in the Litigation, and
                  Plaintiffs Will Be Prejudiced by a Stay Precluding Such Discovery.

          The Brand Ambassador Defendants claim that absent a stay, they will be subject to the

   “unnecessary, expensive, and significant burden of engaging in discovery.” Motion at 16. Yet,

   they fail to demonstrate how discovery would be unduly burdensome, much less make the “specific

   showing” of prejudice or difficulty that is required to impose a stay. See United States ex rel.

   Sedona Partners LLC, 2021 WL 4749803, at *2 (denying stay); Montoya, 2014 WL 2807617, at

   *2 (making conclusory statements regarding burdensome discovery cannot support a stay); Ray,

   2012 WL 5471793, at *3 (denying stay motion where defendants asserted, as here, “bland

   generalizations” of burden such as “scope and breadth” of the allegations “would require a

   substantial amount of discovery,” and “complexity” of the case). Indeed, in the Voyager Digital

   cases, the Court denied defendants’ motion to stay all discovery, in part, because there was no

   showing, by declaration nor any evidence, that such requested discovery was unduly burdensome.

   See Paperless Order, Robertson v. Cuban, No. 22-cv-22538 (S.D. Fla. Nov. 18, 2022), ECF No.

   45. Here, other than point to the discovery request themselves, the Brand Ambassador Defendants

   have not made any showing of “undue burden.”

          Moreover, as noted, Plaintiffs take no position and leave it to the Court’s discretion what

   additional discovery, if any, should be permitted pending decision on the forthcoming motion to
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   dismiss. At this pre-consolidated amended pleading stage, Plaintiffs seek only certain foundational

   documents, such as each of the Brand Ambassador Defendants’ brand ambassador and/or

   partnership agreements with FTX. These generally are responsive to Request No. 1 to each of the

   Requests for Production served on each of the Brand Ambassador Defendants. As demonstrated

   by the contracts produced in Norris by Brand Ambassador Defendants Brady, Ortiz, David, and

   O’Leary, these contracts are all varied in their requirements, with some requiring FTX brand

   ambassadors to create and publish numerous “social media posts,” autograph a certain number of

   items per year, launch NFTs across the country through FTX, conduct virtual meetings and

   lunches, host FTX charity events, etc. And certain of those contracts specifically require the brand

   ambassadors/partners to collaborate with the FTX advertising company on these scripts (i.e., such

   as the fraudulent FTX “I am All In” Campaign), via phone and emails, and preclude these

   celebrities from promoting any FTX competitors, in any manner.

          Given the varied nature and particulars of the relationship among each of the Brand

   Ambassador Defendants and FTX, and the fact that the relationship as to each defendant is critical

   to establishing elements of Plaintiffs’ claims, the limited discovery of each Brand Ambassador

   Defendant’s brand ambassadorship and/or partnership agreement with FTX is appropriate and

   necessary at this stage. Indeed, the Brand Ambassador Defendants argue (erroneously) that they

   are not liable under Fla. Stat. § 517.07, because they “do not qualify as officers, directors or agents

   of FTX” (Motion at 15 (emphasis added)), but simultaneously seek to preclude Plaintiffs from

   discovering the clearly discoverable records which would either confirm or vitiate allegations of

   agency. Such discovery is appropriate and critical at this stage, and the stay motion should thus be

   denied as to at minimum the brand ambassadorship and/or partnership agreements.




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                                             CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court deny the Brand

    Ambassador Defendants’ stay motion.


    Dated: July 26, 2023                                 Respectfully submitted,

                                      Plaintiffs’ Co-Lead Counsel

     By: /s/ Adam Moskowitz                           By: /s/ David Boies
     Adam M. Moskowitz                                David Boies
     Florida Bar No. 984280                           Alex Boies
     Joseph M. Kaye                                   Brooke Alexander
     Florida Bar No. 117520                           BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                     333 Main Street
     Continental Plaza                                Armonk, NY 10504
     3250 Mary Street, Suite 202                      Office: (914) 749-8200
     Coconut Grove, FL 33133                          dboies@bsfllp.com
     Office: (305) 740-1423                           aboies@bsfllp.com
     adam@moskowitz-law.com                           balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com




                                    CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the forgoing was filed on July 26, 2023, via

    the Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.

                                                          By: /s/ Adam M. Moskowitz__
                                                              ADAM M. MOSKOWITZ




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